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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


UNITED STATES OF AMERICA                          Case No. 19 CR 567

           v.

ROBERT SYLVESTER KELLY, aka “R.                    Hon. Judge Harry D. Leinenweber
Kelly”


                     GOVERNMENT’S MOTION TO DEFER THE
                        CALCULATION OF RESTITUTION

      The UNITED STATES OF AMERICA, by JOHN R. LAUSCH, JR., United

States Attorney for the Northern District of Illinois, hereby moves pursuant to Title

18, United States Code, Section 3664(d)(5) to defer the calculation of restitution in

this matter until approximately 30 days after sentencing to allow time for the

victims’ losses to be fully ascertained. In support of the motion, the government

states as follows:

      1.        On September 14, 2022, a jury found defendant guilty of six counts of

the superseding indictment, to include Counts One through Three (sexual

exploitation of Minor 1 (“Jane”), in violation of 18 U.S.C. § 2251(a)), Count Nine

(enticement of Jane, in violation of 18 U.S.C. § 2422(b)), Count Ten (enticement of

Minor 3 (“Nia”), in violation of 18 U.S.C. § 2422(b)), and Count Twelve (enticement

of Minor 5 (“Pauline”), in violation of 18 U.S.C. § 2422(b)). R. 334.

      2.        In light of defendant’s convictions, pursuant to 18 U.S.C. §§ 2259, 2429,

and 3663A, the Court must order restitution to the victims of these offenses in an
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amount determined by the Court.

      3.     Defendant’s sentencing hearing is scheduled to proceed on February

23, 2023. R. 334.

      4.     On January 24, 2023, the government submitted a victim import

spreadsheet to the U.S. Department of Probation and the Court. On February 3,

2023, the government submitted a supplemental version of the offense regarding

restitution to Probation. As set forth in the supplement, the government has

received some information related to the restitution amounts, however, the

government is in the process of obtaining additional information.

      5.     Pursuant to 18 U.S.C. § 3664(d)(5), “if the victim’s losses are not

ascertainable by the date that is 10 days prior to sentencing, the attorney for the

Government . . . shall so inform the court, and the court shall set a date for the final

determination of the victim’s losses, not to exceed 90 days after sentencing.”

      6.     As the Supreme Court has stated, the procedural provisions of the

Mandatory Victims Restitution Act reinforce the substantive purpose of the Act,

“namely, that the statute seeks primarily to ensure that victims of a crime receive

full restitution.” Dolan v. United States, 560 U.S. 605, 612 (2010).

      7.     Because the amounts of the victims’ requests for restitution has not yet

been finalized, the government requests additional time beyond the February 23,

2023 sentencing hearing to allow for the victims’ losses to be fully ascertained.

      8.     The government has conferred with defense counsel, who objects to this


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motion.

      WHEREFORE, the United States respectfully requests that the Court grant

this motion pursuant to 18 U.S.C. § 3664(d)(5) and defer the calculation of

restitution in this matter until approximately 30 days after sentencing to allow time

for the victims’ losses to be fully ascertained.


                                         Respectfully submitted,


                                         JOHN R. LAUSCH, JR.
                                         United States Attorney

                                  By:    /s/ Elizabeth R. Pozolo
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